Case 3:23-cv-00059-BJD-PDB Document 18 Filed 06/30/23 Page 1 of 3 PageID 270




                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                        JACKSONVILLE DIVISION


PATH+FINDER, LLC d/b/a
IMAGINE EARLY EDUCATION
AND CHILDCARE, and IC US
PROPERTIES 1, LLC,

      Plaintiffs,

v.                                        Case No.: 3:23-cv-59-BJD-PDB

THE ACADEMY AT JULINGTON
CREEK, LLC; ARTFUL
ENTERPRISES, LLC;
JACKSONVILLE ACADEMY
HOLDINGS, LLC; SPYGLASS
PROPERTY HOLDINGS, LLC;
RDL PROPERTIES OF NORTH
FLORIDA, LLC; and LUCINDA
CHAPIN,

      Defendants.



                    UNOPPOSED MOTION TO WITHDRAW

      Under Local Rule 2.02(c), Jared J. Burns moves to withdraw as counsel

of record for Defendants. Defendants will continue to be represented by Daniel

K. Bean. Daniel K. Bean will be lead counsel for Defendants moving forward.

             LOCAL RULE 2.02(c)(1)(B)(i) CERTIFICATION

      Under Local Rule 2.02(c)(1)(B)(i), Defendants The Academy at Julington

Creek, LLC, Artful Enterprises, LLC, Jacksonville Academy Holdings, LLC,
Case 3:23-cv-00059-BJD-PDB Document 18 Filed 06/30/23 Page 2 of 3 PageID 271




Spyglass Property Holdings, LLC, RDL Properties of North Florida, LLC, and

Lucinda Chapin, consent to the withdrawal.

                  LOCAL RULE 3.01(g) CERTIFICATION

      Under Local Rule 3.01(g), the undersigned has conferred with counsel

for Plaintiffs, and Plaintiffs do not oppose the relief sought herein.

      DATED: June 30, 2023.

                               Respectfully submitted,

                               /s/ Jared J. Burns
                               Jared J. Burns, Esq
                               Florida Bar No.: 1003415
                               Primary Email: jburns@abljax.com
                               100 N. Laura Street, Suite 501
                               Jacksonville, FL 32202
                               Telephone: (904) 944-4100




                                        2
Case 3:23-cv-00059-BJD-PDB Document 18 Filed 06/30/23 Page 3 of 3 PageID 272




                         CERTIFICATE OF SERVICE

      I certify that on June 30, 2023, I electronically filed the foregoing with

the Clerk of the Court by using the CM/ECF system, which will send a notice

of electronic filing to all counsel of record.


                                       /s/ Jared J. Burns
                                       Attorney




                                          3
